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                     UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           SHERMAN DIVISION


VIRGINIA INNOVATION SCIENCES, INC.,
                                             Civil Action No. 4:18-cv-00474-ALM
                  Plaintiff,
                                              (LEAD CONSOLIDATED CASE)
      v.
                                                 JURY TRIAL DEMANDED
AMAZON.COM, INC., et al.

                  Defendants.

INNOVATION SCIENCES, LLC,

                  Plaintiff,
      v.
                                             Civil Action No. 4:18-cv-00475-ALM
RESIDEO TECHNOLOGIES, INC.,

                  Defendant.

INNOVATION SCIENCES, LLC,

                  Plaintiff,
      v.
                                             Civil Action No. 4:18-cv-00476-ALM
HTC CORPORATION,

                  Defendant.

INNOVATION SCIENCES, LLC,

                  Plaintiff,
      v.
                                             Civil Action No. 4:18-cv-00477-ALM
VECTOR SECURITY, INC.,

                  Defendant.




              JOINT MOTION TO MODIFY SCHEDULING ORDER
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       Plaintiff Innovation Sciences, LLC and Defendants Amazon.com, Inc., Amazon Digital

Services, LLC, Amazon Web Services, Inc., Resideo Technologies, Inc., HTC Corporation, and

Vector Security, Inc. file this motion to extend the deadline for filing the joint claim construction

chart from June 28, 2019 to August 16, 2019 and the deadline for submitting technology tutorials

from July 1, 2019 to August 19, 2019.

       Good cause exists for this modest extension. The additional time will allow the parties to

confer and submit a joint claim construction chart reflecting the parties’ claim construction

positions in light of the recently-completed briefing, and will allow the parties to further refine

their tutorial presentations. These changes will require no further modification to the schedule

because the Court continued the claim construction hearing in this case from July 10, 2019 to

August 28, 2019.

       Accordingly, the parties’ respectfully request that the Court extend the deadline for filing

the joint claim construction chart from June 28, 2019 to August 16, 2019 and the deadline for

submitting technology tutorials from July 1, 2019 to August 19, 2019.


 June 27, 2019                                    Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via email on

June 27, 2019.

                                                    /s/ Dargaye Churnet
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